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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                        VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 551                      Ambal Inc                              ambal.inc@gmail.com
 585                      Authenzo                               wrbonninguuchase33025286@yahoo.com
 1245                     美满全球                                   903445807@qq.com
 1299                     fashion1988                            wishfunny@163.com
 1327                     caicai                                 hc1647264@163.com
 1366                     fdreams                                hc1647261@sohu.com
 2059                     liwenhuai                              hs_by_06@qq.com




Dated: August 6, 2019
                                                                          Respectfully submitted,

                                                                             By:    /s/ Rishi Nair

                                                                                       Rishi Nair
                                                                               ARDC # 6305871
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